05-44481-rdd   Doc 7965-12    Filed 05/17/07    Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 3a of Aff   Pg 1 of 22
05-44481-rdd   Doc 7965-12    Filed 05/17/07    Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 3a of Aff   Pg 2 of 22
05-44481-rdd   Doc 7965-12    Filed 05/17/07    Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 3a of Aff   Pg 3 of 22
05-44481-rdd   Doc 7965-12    Filed 05/17/07    Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 3a of Aff   Pg 4 of 22
05-44481-rdd   Doc 7965-12    Filed 05/17/07    Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 3a of Aff   Pg 5 of 22
05-44481-rdd   Doc 7965-12    Filed 05/17/07    Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 3a of Aff   Pg 6 of 22
05-44481-rdd   Doc 7965-12    Filed 05/17/07    Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 3a of Aff   Pg 7 of 22
05-44481-rdd   Doc 7965-12    Filed 05/17/07    Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 3a of Aff   Pg 8 of 22
05-44481-rdd   Doc 7965-12    Filed 05/17/07    Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 3a of Aff   Pg 9 of 22
05-44481-rdd   Doc 7965-12    Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 3a of Aff Pg 10 of 22
05-44481-rdd   Doc 7965-12    Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 3a of Aff Pg 11 of 22
05-44481-rdd   Doc 7965-12    Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 3a of Aff Pg 12 of 22
05-44481-rdd   Doc 7965-12    Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 3a of Aff Pg 13 of 22
05-44481-rdd   Doc 7965-12    Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 3a of Aff Pg 14 of 22
05-44481-rdd   Doc 7965-12    Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
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05-44481-rdd   Doc 7965-12    Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
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05-44481-rdd   Doc 7965-12    Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
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05-44481-rdd   Doc 7965-12    Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
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05-44481-rdd   Doc 7965-12    Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
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05-44481-rdd   Doc 7965-12    Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 3a of Aff Pg 21 of 22
05-44481-rdd   Doc 7965-12    Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
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